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 8                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
 9                                     SAN JOSE DIVISION
10

11   PHYLLIS GUSTAVSON, individually and           Case No. 13-cv-04537-LHK
12   on behalf of all others similarly situated,
                                                   MARS’S NOTICE OF MOTION AND
13                      Plaintiff,                 MOTION TO DISMISS;
                                                   MEMORANDUM OF POINTS AND
14   v.                                            AUTHORITIES IN SUPPORT
                                                   THEREOF
15
     MARS, INC. and MARS CHOCOLATE
16   NORTH AMERICA, LLC,                           Hearing Date: April 3, 2014
                                                   Time: 1:30 p.m.
17                      Defendants.                Place: Courtroom 8, 4th Floor
                                                   Judge: Hon. Lucy H. Koh
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                MARS’S NOTICE OF MOTION AND MOTION TO DISMISS – 13-cv-04537-LHK
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 1
                                         NOTICE OF MOTION
 2
     TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 3
            PLEASE TAKE NOTICE that on April 3, 2014, at 1:30 p.m., or as soon thereafter as this
 4
     matter may be heard, in Courtroom 8, 4th Floor, of this Court, located at 280 South 1st Street,
 5
     San Jose, California, Defendants Mars, Inc. and Mars Chocolate North America, LLC
 6
     (collectively “Mars”) will and hereby do move the Court for an order dismissing claims alleged
 7
     in Plaintiff Phyllis Gustavson’s Class Action and Representative Action Complaint for Damages,
 8
     Equitable and Injunctive Relief. This Motion is made pursuant to Federal Rule of Civil
 9
     Procedure 12(b)(6) on the following grounds:
10
        •   Plaintiff’s claims regarding Mars’s “Guideline Daily Amounts” icons are barred by the
11
            express preemption provision in the Nutritional Labeling and Education Act of 1990
12
            (“NLEA”), 21 U.S.C. § 343-1(a);
13
        •   Plaintiff’s claims regarding statements that Dove Dark Chocolate is a “natural source” of
14
            “naturally occurring” cocoa flavanols are also expressly preempted by the NLEA; and
15
        •   Plaintiff’s claims regarding Mars’s “Guideline Daily Amounts” icons implicate technical
16
            and policy questions that are under active consideration by the FDA and thus committed
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            to the primary jurisdiction of the FDA.
18
            Mars’s Motion is based upon this Notice, the accompanying Memorandum of Points and
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     Authorities, the accompanying Request for Judicial Notice, any reply memorandum, the
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     pleadings and files in this action, and such other matters as may be presented at or before the
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     hearing.
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 1   Dated: November 15, 2013              Respectfully submitted,

 2
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 1                            STATEMENT OF ISSUES TO BE DECIDED

 2   1.   Are Plaintiff’s claims regarding Mars’s “Guideline Daily Amounts” icons preempted by the

 3        NLEA, 21 U.S.C. § 343-1(a), because they seek to impose labeling requirements not
 4
          identical to the FDCA and its implementing regulations?
 5
     2. Are Plaintiff’s claims regarding statements that Dove Dark Chocolate is a “natural source” of
 6
          “naturally occurring” cocoa flavanols expressly preempted by the NLEA for the same
 7
          reason?
 8

 9   3. Should the Court decline to adjudicate Plaintiff’s claims regarding Mars’s “Guideline Daily

10        Amounts” icons because they implicate technical and policy questions that are under active

11        consideration by the FDA and thus committed to the primary jurisdiction of the FDA?

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 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2                                            INTRODUCTION

 3            Plaintiff’s latest complaint against Mars renews Plaintiff’s allegations that the following

 4   labeling practices violate FDA regulations and are therefore false and misleading: (i) use of

 5   green Guideline Daily Amounts (“GDA”) icons to provide truthful front-of-pack calorie

 6   information; (ii) truthful statements that Dove Dark Chocolate is a “natural source” of “naturally

 7   occurring” cocoa flavanols; and (iii) use of the abbreviation “PGPR” to refer to polyglycerol

 8   polyricinoleic acid. By this motion, Mars seeks to eliminate, once and for all, the first two of

 9   these three remaining claims.1

10            First, this Court should dismiss Plaintiff’s claims that Mars’s calorie-related GDA icons

11   violate FDA regulations. This Court has already once dismissed these claims, reasoning that

12   they are expressly preempted by FDA regulations authorizing the precise statements Plaintiff

13   claims are unlawful. Plaintiff’s renewed allegations—a mishmash of previously dismissed

14   allegations and new, quasi-factual assertions about the “Nutrition Keys (Facts Up Front)”

15   voluntary labeling program—do nothing to overcome this express regulatory bar.

16            Second, Mars seeks dismissal of Plaintiff’s claims that the statements “natural source” of

17   “naturally occurring” cocoa flavanols fail to comply with FDA regulations governing nutrient

18   content claims. One court in this district has already held that the regulations do not apply to the

19   statement “natural source of antioxidants” because the statement is not a nutrient content claim.

20   See Trazo v. Nestle USA, Inc., No. 5:12-CV-2272 PSG, 2013 WL 4083218, at *9 (N.D. Cal.

21   Aug. 9, 2013) (internal quotation marks omitted). Although Plaintiff’s flavanols claims survived

22   Mars’s last motion to dismiss, Mars respectfully submits that this Court’s decision on that point

23   is in conflict with Trazo, and that Trazo’s reasoning—based on the express language of the

24   FDCA and FDA regulations—is more persuasive than the single, conclusory FDA warning letter

25   on which Plaintiff relies.

26
     1
27       Mars is not moving to dismiss Plaintiff’s claims based on use of the term “PGPR.”
28


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 1           Finally, Mars seeks dismissal of Plaintiff’s calorie-related GDA icons claims for the

 2   additional and alternative reason that they involve issues—calorie-related front-of-pack nutrition

 3   labeling—that are committed to the primary jurisdiction of the FDA. The FDA is actively

 4   regulating these issues, has indicated its intent to propose regulations and guidance, and has

 5   stated that it will exercise enforcement discretion. For these reasons, the Court should “step back

 6   and allow the FDA regulatory process to play out.” Gustavson v. Wrigley Sales Co., No. 12-CV-

 7   01861-LHK, --- F. Supp. 2d ----, 2013 WL 5201190, at *17 (N.D. Cal. Sept. 16, 2013).

 8                                           BACKGROUND

 9           On April 13, 2012, Plaintiff filed a putative class action against Wrigley Sales Company

10   and Wm. Wrigley Jr. Company (collectively, “Wrigley”), alleging that the labels of Wrigley’s

11   chewing gum, breath mints, and hard candy products violate FDA regulations. See Wrigley Dkt.

12   No. 1.2 Plaintiff filed an amended complaint on July 23, 2012, adding two new defendants,

13   Mars, Inc. and Mars Chocolate North America, LLC, and a slew of new allegations relating to

14   the following five Mars chocolate products: (1) M&M chocolate candy, 1.69 oz.; (2) Twix

15   chocolate candy, 1.79 oz.; (3) Dove Dark Chocolate Bar, 3.3 oz.; (4) Dove Milk Chocolate Bar,

16   3.3 oz.; and (5) Snickers Fun Size, 11.8 oz. See Wrigley Dkt. No. 21, Am. Compl. ¶ 213(F)–(J).

17   Among other things, Plaintiff alleged that the products’ labels violate FDA regulations and are

18   false and misleading because:

19       •   the green GDA icon on all five products’ labels provides a percent daily value (“DV”) of
20           calories based on a 2,000 calorie diet and is not accompanied by a disclosure statement

21           referring to nutrition information on the back panel, id. ¶¶ 84–100;

22       •   statements that Dove Dark Chocolate is “a natural source of cocoa flavanols” and that the
23           “COCOAPRO® process helps retain much of the naturally occurring cocoa flavanols” do

24           not comply with the FDA’s “good source” regulations, id. ¶¶ 70–83; and

25

26   2
      For ease of reference, citations to filings in the Wrigley case (No. 12-01861) will use the
27   shorthand “Wrigley Dkt.”; citations to the Mars case (No. 13-04537) will use “Mars Dkt.”
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 1       •   Twix uses the abbreviation “PGPR” for polyglycerol polyricinoleic acid, id. ¶¶ 138–155.
 2           This Court granted in part and denied in part Mars’s motion to dismiss these claims on

 3   September 16, 2013. See Gustavson, 2013 WL 5201190. On the one hand, this Court dismissed

 4   Plaintiff’s calorie-related GDA icon claims, finding that the claims were expressly preempted

 5   because the icons “comply with all applicable federal regulations.” Id. at *13. This Court

 6   agreed with Mars that 21 C.F.R. § 101.13(i)(3) expressly allows Mars to declare “the amount or

 7   percentage” of calories on its labels; that providing a “percentage DV [of calories] based on a

 8   2,000 calorie diet could not possibly be false or misleading within the meaning of the FDA’s

 9   regulations[] because the FDA itself uses a 2,000 calorie day baseline to calculate nutrient DVs;”

10   and that section 101.13(i)(3) expressly permits Mars to provide calorie-related information

11   without the need to “accompany its calorie claims with disclosure statements concerning fat

12   and/or saturated fat.” Id. (internal quotation marks omitted). On the other hand, this Court

13   declined to dismiss Plaintiff’s cocoa flavanols and PGPR claims. See id. at *21.

14           Plaintiff filed an amended complaint against Mars under a new case number on October

15   1, 2013. See Compl. (Mars Dkt. No. 2). The amended complaint premises its allegations on the

16   same five Mars products identified in Plaintiff’s previous complaint,3 see id. ¶ 2, and renews

17   Plaintiff’s allegations based on (i) calorie-related GDA icons, (ii) statements regarding flavanols,

18   and (iii) use of the term PGPR, see id. ¶¶ 57–142. In an attempt to revive the dismissed calorie-

19   related GDA icon claims, the amended complaint adds pages of new allegations regarding the

20   voluntary labeling program known as “Nutrition Keys (Facts Up Front).” See id. ¶¶ 72–124.

21           Plaintiff’s renewed complaint alleges six state-law causes of action: (1) violation of

22   California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200 et seq. (claims

23   1, 2, and 3); (2) violation of California’s False Advertising Law (“FAL”), Cal. Bus. & Prof. Code

24   §§ 17500 et seq. (claims 4 and 5); and (3) violation of the Consumers Legal Remedies Act

25

26   3
      Mars is filing concurrently with this motion a request for judicial notice of the labeling of the
27   five products at issue. See Defs.’ Req. for Judicial Notice (“RJN”) Exs. A–E.
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 1   (“CLRA”), Cal. Civ. Code §§ 1750 et seq. (claim 6). Compl. ¶¶ 211–267. Plaintiff seeks to

 2   represent a class of “[a]ll persons in California who purchased a food product manufactured or

 3   distributed by Defendants . . . since April 11, 2008” bearing one or more of the above-described

 4   statements. Id. ¶ 200. In addition to the five types of candy Plaintiff claims to have purchased,

 5   Plaintiff identifies thirty-nine additional types of candy she did not purchase, but whose

 6   purchasers she alleges should be part of the proposed class because they purchased

 7   “[s]ubstantially [s]imilar” products. Id. ¶ 3. Plaintiff alleges that all forty-four products’ labels

 8   display calorie-related GDA icons; that four refer to cocoa flavanols; and that twelve use the

 9   abbreviation “PGPR.” Id. ¶ 3.

10                                          LEGAL STANDARD

11           A complaint must be dismissed under Rule 12(b)(6) if it does not “contain sufficient

12   factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft

13   v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted). The complaint cannot make only an

14   “unadorned, the-defendant-unlawfully-harmed-me accusation,” and “[a] pleading that offers

15   labels and conclusions or a formulaic recitation of the elements of a cause of action will not do.”

16   Id. (internal quotation marks omitted). “Dismissal is proper where there is either a lack of a

17   cognizable legal theory or the absence of sufficient facts alleged under a cognizable legal claim.”

18   Hinds Invs., LP v. Angioli, 654 F.3d 846, 850 (9th Cir. 2011).

19                                               ARGUMENT

20   I.      Plaintiff’s Claims Are Expressly Preempted by Federal Law.

21           The Federal Food, Drug, and Cosmetic Act (“FDCA”), 21 U.S.C. §§ 301 et seq.,
22   establishes a comprehensive federal regulatory scheme to ensure that food is safe and is labeled
23   in a manner that does not mislead consumers. The FDCA vests the FDA with authority to
24   “protect the public health by ensuring that . . . foods are safe, wholesome, sanitary, and properly
25   labeled.” 21 U.S.C. § 393(b)(2)(A) (2012).
26           In 1990, Congress enacted the NLEA, Pub. L. No. 101-535, 104 Stat. 2353 (1990), which
27   amended the FDCA to “‘establish uniform national standards for the nutritional claims and the
28   required nutrient information displayed on food labels.’” Lam v. Gen. Mills, Inc., 859 F. Supp.
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 1   2d 1097, 1102 (N.D. Cal. 2012) (quoting H.R. Rep. No. 101-538 (1990), reprinted in 1990

 2   U.S.C.C.A.N. 3336, 3342). Two subsections of the NLEA, 21 U.S.C. § 343(q) and (r), set forth

 3   detailed requirements for nutritional information and claims on food labels. Pursuant to the

 4   NLEA, the FDA has promulgated a comprehensive set of regulations regarding food labeling.

 5   See 21 C.F.R. §§ 101.1 et seq. (2013).

 6          When it passed the NLEA, Congress expressly preempted any state law requirements

 7   “not identical” to those established by the NLEA:

 8          [N]o State . . . may directly or indirectly establish under any authority . . .

 9          (4) any requirement for nutrition labeling of food that is not identical to the requirement
            of section 343(q) of this title . . . or
10

11          (5) any requirement respecting any claim of the type described in section 343(r)(1) . . .
            made in the label or labeling of food that is not identical to the requirement of section
12          343(r) . . . .

13   21 U.S.C. § 343-1(a)(4), (5) (2012) (emphases added). Under FDA regulations, “not identical
14   to” means “the State requirement directly or indirectly imposes obligations or contains
15   provisions concerning the composition or labeling” that are “not imposed by or contained in the
16   applicable provision [or regulation] . . . or [d]iffer from those specifically imposed by or
17   contained in the applicable provision [or regulation].” 21 C.F.R. § 100.1(c)(4)(i)–(ii); Lam, 859
18   F. Supp. 2d at 1102.
19          Accordingly, the NLEA preempts state law claims that seek to require food labels to
20   contain information that is not identical to the information required by the NLEA and its
21   implementing regulations. See, e.g., Turek v. Gen. Mills, Inc., 662 F.3d 423, 427 (7th Cir. 2011)
22   (Posner, J.) (“Even if the disclaimers that the plaintiff wants added would be consistent with the
23   requirements imposed by the Food, Drug, and Cosmetic Act, consistency is not the test [for
24   NLEA preemption]; identity is.”); Chacanaca v. Quaker Oats Co., 752 F. Supp. 2d 1111, 1118
25   (N.D. Cal. 2010) (same); Peviani v. Hostess Brands, Inc., 750 F. Supp. 2d 1111, 1118 (C.D. Cal.
26   2010) (same).
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 1          Plaintiff’s state-law claims based on (i) Mars’s calorie-related GDA icons and (ii)

 2   statements regarding flavanols are preempted because they seek to impose labeling requirements

 3   that are “not identical” to those required by the NLEA and its implementing regulations.

 4          A.      The NLEA Preempts Plaintiff’s Claims Regarding Mars’s Calorie-Related
                    GDA Icons.
 5
            The NLEA expressly preempts Plaintiff’s claim that Mars’s products are misbranded
 6
     because they display GDA icons that state the number of calories and a percent DV of calories
 7
     based on a 2,000-calorie diet. Compl. ¶¶ 72–124. As this Court has already once held, Mars’s
 8
     calorie-related GDA icons “comply with all applicable federal regulations,” and “any finding
 9
     that these claims are unlawful and deceptive would impose requirements not identical to the
10
     FDA’s regulations.” Gustavson, 2013 WL 5201190, at *13.
11
            Plaintiff’s amended complaint attempts to renew these claims with a jumbled assortment
12
     of allegations which can be fairly categorized into three distinct arguments: (1) calculating a DV
13
     of calories violates FDA regulations and is misleading because the FDA has not formally
14
     established a DV for calories, Compl. ¶ 78; (2) the GDA icons violate FDA regulations and are
15
     misleading because they are not accompanied by a disclosure statement, “see nutrition
16
     information for [fat, saturated fat, cholesterol, and/or sodium] content,” id. ¶¶ 102–104; and (3)
17
     the display of a single caloric GDA icon on the principal display panel of Mars’s product labels
18
     violates the FDA’s guidance regarding the voluntary “Nutrition Keys (Facts Up Front)” labeling
19
     program, id. ¶ 78. The first two arguments have already been rejected by this Court, see
20
     Gustavson, 2013 WL 5201190, at *12–13, and Plaintiff’s amended complaint proffers no basis
21
     for the Court to reconsider that ruling. Plaintiff’s addition of irrelevant allegations regarding the
22
     voluntary “Nutrition Keys” labeling program does not change the analysis. These claims are
23
     expressly preempted by federal law and should be dismissed.
24
                    1.      Percent DV of Calories.
25
            The NLEA preempts Plaintiff’s claim that Mars’s products are misbranded because they
26
     display a percent DV of calories. Nothing in the FDCA or its implementing regulations prohibits
27
     a label from stating a percent DV of calories based on a 2,000-calorie diet. To the contrary, as
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 1   this Court has already recognized, “listing a percentage DV based on a 2,000 calorie diet could

 2   not possibly be false or misleading within the meaning of the FDA’s regulations, because the

 3   FDA itself uses a 2,000 calorie day baseline to calculate nutrient DVs.” Gustavson, 2013 WL

 4   5201190, at *12. FDA regulations specify that the percent DVs for certain nutrients must be

 5   printed on product labels, that those percentages must be calculated based on a 2,000 calorie diet,

 6   and that the labels must state that the percent DVs were calculated based on a 2,000 calorie diet.

 7   See, e.g., 21 C.F.R. § 101.9(c)(9) (2013) (“For the purpose of labeling with a percent of the

 8   DRV, the following DRV’s are established for the following food components based on the

 9   reference caloric intake of 2,000 calories” (emphasis added)), (d)(9)(i) (mandating that nutrition

10   label shall include a footnote stating that “Percent Daily Values are based on a 2,000 calorie

11   diet”). Nothing prohibits a food manufacturer from doing basic math and providing a similar

12   percentage of calories. In fact, the FDA is currently contemplating requiring food manufacturers

13   to provide a percent DV of calories based on a 2,000 calorie diet. See Food Labeling:

14   Prominence of Calories, 70 Fed. Reg. 17,008, 17,008–17,010 (Apr. 4, 2005) (advance notice of

15   proposed rulemaking (“ANPRM”) requesting comments on DV of calories and placement of

16   calorie information on principal display panel); Food Labeling: Revision of Reference Values

17   and Mandatory Nutrients, 72 Fed. Reg. 62,149, 62,167 (Nov. 2, 2007) (ANPRM renewing

18   request for comments on FDA’s April 4, 2005 “Prominence of Calories” proposal); Regulatory

19   Agenda, 78 Fed. Reg. 44,252, 44,254 (July 23, 2013) (declaring FDA’s intent to issue a proposed

20   rule based on FDA’s April 4, 2005 and November 2, 2007 ANPRMs).

21          Moreover, FDA regulations expressly authorize that “the label or labeling of a product

22   may contain a statement about the amount or percentage of a nutrient if . . . [t]he statement does

23   not in any way implicitly characterize the level of the nutrient in the food and it is not false or

24   misleading in any respect (e.g., ‘100 calories’ or ‘5 grams of fat’).” 21 C.F.R. § 101.13(i)(3)

25   (emphasis added); see also Gustavson, 2013 WL 5201190, at *12. A percent DV of calories

26   complies with 21 C.F.R. § 101.13(i)(3) because it is (1) a “percentage,” (2) of a “nutrient,” (3)

27   that does not “implicitly characterize the level” of that nutrient, and (4) is not “false or

28   misleading.” Providing a percent DV of calories “do[es] not implicitly characterize the level of
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 1   calories in the products (in that they do not imply, for instance, that the products are low

 2   calorie).” Gustavson, 2013 WL 5201190, at *12; see also Food Labeling: Nutrient Content

 3   Claims, 58 Fed. Reg. 2302, 2310 (Jan. 6, 1993) (explaining that statements like “100 calories” or

 4   “5 grams of fat” are “a simple statement of amount that, by itself, conveys no implied

 5   characterization of the level of the nutrient”). And the percentage is not misleading because it is

 6   calculated using the same caloric baseline the FDA uses to calculate all other nutrient DVs and is

 7   always accompanied by disclosure of all of the information used to calculate that percentage: (1)

 8   the numerator (calories per measured serving), the denominator (a 2,000 calorie diet), and the

 9   size of the serving being measured (e.g., an individually wrapped package). See RJN Exs. A–E.

10   Thus, as this Court has already once held, providing a percent DV of calories is expressly

11   authorized by 21 C.F.R. § 101.13(i)(3).

12                  2.      Disclosure Statement

13          Plaintiff’s Complaint also renews the allegation that Mars’s GDA icons violate 21 C.F.R.
14   § 101.13(h)(1) because they are not accompanied by a disclosure statement, “see nutrition
15   information for [fat, saturated fat, cholesterol, and/or sodium] content.” Compl. ¶¶ 102–104.
16   But as this Court has already held, Plaintiff’s argument contradicts the plain language of 21
17   C.F.R. § 101.13(i)(3), which “contains no such [disclosure statement] requirement.” Gustavson,
18   2013 WL 5201190, at *12. Section 101.13(i)(3) states that a label “may contain” a statement
19   about the amount or percentage of a nutrient “if . . . [t]he statement does not in any way
20   implicitly characterize the level of the nutrient in the food and [] is not false or misleading in any
21   respect.” Id. (alterations in original) (emphases added) (internal quotation marks omitted). It
22   does not require that the amount or percentage be accompanied by a disclosure statement.
23                  3.      The “Nutrition Keys (Facts Up Front)” Labeling Program
24          Finally, in an attempt to resuscitate her claims premised on Mars’s calorie-related GDA
25   icons, Plaintiff peppers her Complaint with allegations that Mars has “failed to adhere to the
26   guidelines of the Nutrition Keys (Facts Up Front) voluntary labeling program.” Compl. ¶ 78.
27   But as Plaintiff herself admits, the Nutrition Keys is a voluntary labeling program developed by
28
                                                      -8-
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 1   two private organizations—the Grocery Manufacturers Association (“GMA”) and the Food

 2   Marketing Institute (“FMI”). Id ¶ 75; see also RJN Ex. F (Dec. 13, 2011 FDA letter describing

 3   Nutrition Keys as a “voluntary labeling program”). It is not a regulation, and the fact that the

 4   FDA has written a guidance letter regarding a voluntary labeling program invented by industry

 5   groups does not obligate food manufacturers to join or follow that program. Mars, an industry

 6   leader in front-of-pack nutrition labeling, introduced its GDA icon program several years before

 7   the Grocery Manufacturers Association proposed the “Nutrition Keys” program. The only

 8   relevant question is whether Mars’s calorie-related GDA icons comply with the NLEA and

 9   applicable FDA regulations—not whether they are identical to the Nutrition Keys.

10            Moreover, Mars’s GDA icon program is consistent with the guidance provided by the

11   FDA on front-of-pack labeling. The FDA’s letter regarding the Nutrition Keys does not state

12   that front-of-pack labeling violates the NLEA or FDA regulations unless it follows the Nutrition

13   Keys program. See RJN Ex. F. Plaintiff alleges that the GDA icons program is inconsistent with

14   the Nutrition Keys guidance because it only displays a calorie icon—and not all four Nutrition

15   Keys icons—on the front of the package. See Compl. ¶ 80. But the Nutrition Keys style guide

16   approved by the FDA specifically permits the use of a single calorie icon on the principal display

17   panel for smaller products. See RJN Ex. I at 17 (“Nutrition Keys” Final Draft Style Guide for

18   Implementers (May 3, 2011)). Moreover, the FDA’s stated concern that all four icons be printed

19   on the front of the package was simply to ensure that the information on the front of the package

20   is “standardized” and “non-selective” so that it does not “mislead consumers by presenting only

21   ‘good news’ about nutrient content.” RJN Ex. F. As Plaintiff’s own allegations in this action

22   demonstrate, Mars’s use of the calorie icon (as well as its other GDA icons) is standardized and

23   non-selective across its entire product line. See RJN Exs. A–E. Here, Mars’s non-selective

24   presentation of quantitative calorie information regarding its candy products fully complies with

25   FDA regulations, can hardly be considered “good news,” and is clearly not misleading in any

26   sense.

27            Indeed, a recently passed law requiring disclosure of calorie information by vending

28   machine operators illustrates the absurdity of Plaintiff’s argument. The Patient Protection and
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 1   Affordable Care Act, Pub. L. No. 111-148, 124 Stat. 119 (2010), codified as amended at 21

 2   U.S.C. § 343(q), requires vending machine operators to “provide a sign in close proximity to

 3   each article of food or the selection button that includes a clear and conspicuous statement

 4   disclosing the number of calories contained in the article.” 21 U.S.C. § 343(q)(5)(H)(viii)(I)(bb)

 5   (emphasis added). The regulation proposed by the FDA to implement this statute specifically

 6   exempts foods that “provide[] visible nutrition information at the point of purchase” in the form

 7   of the “total number of calories for the article of food.” Food Labeling; Calorie Labeling of

 8   Articles of Food in Vending Machines, 76 Fed. Reg. 19,238, 19,238–39, 19,254 (Apr. 6, 2011).

 9   In order to qualify for the exemption, the calorie information “must appear on the food label

10   itself,” “must be clear and conspicuous and easily read on the article of food while in the vending

11   machine,” and must have “sufficient color and contrasting background to other print on the label

12   to permit the prospective purchaser to clearly distinguish the information.” Id. at 19,254. The

13   FDA has specifically acknowledged that “front of package” nutrition information voluntarily

14   placed on the label is a way to satisfy this requirement, “so long as the criteria for color, font and

15   type size are met and total calories in the article of food are included.” Id. at 19,244 (emphasis

16   added). Mars candy is frequently sold via vending machines, and it is hard to see how Congress

17   and the FDA could mandate that vending machine operators provide a “clear and conspicuous

18   statement” disclosing caloric information directly on or in “close proximity” to Mars’s products,

19   but at the same time deem that information misleading when voluntarily provided by Mars.

20          In sum, Mars’s GDA icons “comply with all applicable federal regulations, [and] any

21   finding that these claims are unlawful and deceptive would impose requirements not identical to

22   the FDA’s regulations.” Gustavson, 2013 WL 5201190, at *13. Plaintiff’s claims to the

23   contrary are expressly preempted by the NLEA and must be dismissed.

24          B.      The NLEA Preempts Plaintiff’s Claims Based on Statements About the
                    Presence of Flavanols in Cocoa.
25
            Plaintiff’s amended complaint also renews her allegations that statements on the Dove
26
     Dark Chocolate label describing cocoa as a “natural source” of flavanols and stating that “the
27
     COCOAPRO® process helps retain much of the naturally occurring cocoa flavanols” violate
28
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 1   FDA regulations. Compl. ¶¶ 57–71, 159. According to the complaint, these statements are

 2   “nutrient content claims” that “characterize the level” of flavanols in the product and must

 3   comply with 21 C.F.R. § 101.54(g). See Compl. ¶ 58. But contrary to Plaintiff’s contention,

 4   these statements are not “nutrient content claims” because they do not “characterize the level” of

 5   flavanols.

 6          Under the FDCA, a statement on a food label that “expressly or by implication . . .

 7   characterizes the level of any nutrient which is of the type required” by the FDCA to be listed on

 8   the nutrition label “may be made only if the characterization of the level . . . uses terms which are

 9   defined in” FDA regulations. 21 U.S.C. § 343(r)(1)(A), (r)(2)(A)(i). Pursuant to this provision,

10   the FDA has promulgated regulations governing “nutrient content claims”—defined as “[a]

11   claim that expressly or implicitly characterizes the level of a nutrient of the type required to be in

12   nutrition labeling under § 101.9 or under § 101.36.” 21 C.F.R. § 101.13(b). Under 21 C.F.R.

13   § 101.54(g), “[a] nutrient content claim that characterizes the level of antioxidant nutrients

14   present in a food” may not be made on a label unless “[a]n RDI has been established for each of

15   the [antioxidant] nutrients” and the claim complies with the criteria for making a “high,” “good

16   source,” or “more” claim under subsections (b), (c), or (e) of the regulation.

17          In Trazo v. Nestle USA, Inc., Judge Grewal recently held that state law claims based on

18   the use of the phrase “natural source of antioxidants” on dark chocolate products are expressly

19   preempted by federal law. See No. 5:12-CV-2272 PSG, 2013 WL 4083218, at *9 (N.D. Cal.

20   Aug. 9, 2013). According to Judge Grewal, “these statements do not ‘characterize the level’ of

21   the antioxidants, and thus are not nutrient content claims as defined in Section 101.54.” Id.

22   (alteration omitted). That is because “[t]he qualifier ‘natural,’ unlike ‘good,’ ‘excellent,’ and

23   [‘]fine,’ does not modify the word ‘source’ to indicate the level of the ingredient.” Id. (footnote

24   omitted).

25          Just like in Trazo, the statements on the Dove Dark Chocolate label do not “characterize[]

26   the level” of flavanols in the product and are therefore not nutrient content claims subject to the

27   limitations imposed by 21 C.F.R. § 101.54(g). They are not “expressed nutrient content

28   claim[s]” because they do not make any “direct statement about the level (or range)” of flavanols
                                                     - 11 -
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 1   in the product—e.g., they do not state that the product is a “good,” “excellent,” or “fine” source

 2   of flavanols. Id. § 101.13(b)(1); Trazo, 2013 WL 4083218, at *9. They are not implied nutrient

 3   content claims because they do not either (i) “[d]escribe[] the food or an ingredient therein in a

 4   manner that suggests that a nutrient is absent or present in a certain amount (e.g., ‘high in oat

 5   bran’)”; or (ii) “[s]uggest[] that the food, because of its nutrient content, may be useful in

 6   maintaining healthy dietary practices and is made in association with an explicit claim or

 7   statement about a nutrient (e.g., ‘healthy, contains 3 grams (g) of fat’).” 21 C.F.R.

 8   § 101.13(b)(2)(i)-(ii). A statement that the product is a “natural source” of cocoa flavanols does

 9   not describe “the food or an ingredient”—flavanols are neither a food nor an ingredient—and it

10   does not suggest that flavanols are “absent or present in a certain amount,” such as at a high,

11   low, or moderate level. Id. § 101.13(b)(2)(i) (emphases added). Likewise, “natural source of

12   cocoa flavanols” is not a representation that Dove Dark Chocolate “may be useful in maintaining

13   healthy dietary practices” paired with a separate, “explicit claim or statement” about cocoa

14   flavanols. Id. § 101.13(b)(2)(ii). Rather, these statements do no more than inform consumers

15   that cocoa flavanols are naturally present in the product—a truthful statement—without making

16   any “characterizations” about the actual “level” of cocoa flavanols in the product.4 See Trazo,

17   2013 WL 4083218, at *9.

18          Plaintiff’s complaint confuses this issue by claiming that the terms “source” and

19   “occurring” are synonyms of the regulatory terms “contains” and “provides” that are specified in

20   the definition of a “good source” claim under 21 C.F.R. § 101.54(c). See Compl. ¶ 61. That is

21   not how the regulation works. 21 C.F.R. § 101.54(b), (c), and (e) define three specific types of

22   nutrient content claims: “high,” “good source,” and “more.” Each subsection sets out specific

23   criteria that must be met in order to make a “high,” “good source,” or “more” claim. For

24   example:

25

26   4
       Plaintiff admits this fact when she alleges that the statements are “an undefined characterization
27   that a nutrient is found in a food at some undefined level.” Compl. ¶ 64 (emphasis added).
28
                                                     - 12 -
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 1               •   A “high” claim can be made only if the food “contains 20 percent or more of the
                     RDI or the DRV per reference amount customarily consumed” for that nutrient,
 2                   21 C.F.R. § 101.54(b)(1);
 3
                 •   A “good source” claim can be made only if the food “contains 10 to 19 percent of
 4                   the RDI or the DRV per reference amount customarily consumed” for that
                     nutrient, id. § 101.54(c)(1);
 5
                 •   A “more” claim can be made only if the food “contains at least 10 percent more of
 6                   the RDI for vitamins or minerals or of the DRV for protein, dietary fiber, or
                     potassium . . . per reference amount customarily consumed than an appropriate
 7
                     reference food,” id. §101.54(e)(1)(i).
 8
     Each of subsections (b), (c), and (e) also lists the specific regulatory synonyms for “high,” “good
 9
     source,” and “more.” There are two defined regulatory synonyms for “good source”: “contains”
10
     and “provides.” Id. § 101.54(c)(1). It is important to note that these are FDA-established
11
     regulatory synonyms, not true English-language synonyms; they are deemed synonyms because
12
     the FDA has said they are synonyms, not because they are synonyms in any ordinary sense.
13
     “Contains” and “provides” are the only defined regulatory synonyms for a “good source” claim.
14
     “Source” and “occurring” are not defined synonyms for a “good source” claim.
15
             Because “natural source” and “naturally occurring” are not defined synonyms of “good
16
     source,” the “good source” regulation does not apply. As Judge Grewal observed in Trazo, the
17
     FDA regulation governing references to antioxidants “plainly applies to the terms ‘good source,’
18
     ‘contains,’ and ‘provides,’ without providing for inclusion of similar or lesser included terms.”
19
     2013 WL 4083218, at *6 (emphasis added) (quoting 21 C.F.R. § 101.54(c)). Under the doctrine
20
     of expressio unius est exclusio alterius, “a specific, finite list implies that other terms are
21
     excluded.” Id. (citing Silvers v. Sony Pictures Entm’t, Inc., 402 F.3d 881, 885 (9th Cir. 2005)).
22
     Thus, “natural source” and “naturally occurring” are unequivocally not “good source” claims,
23
     and the only relevant question here is whether these statements “characterize the level” of
24
     flavanols in the product.
25
             Other than misplaced reliance on the “good source” regulation, Plaintiff’s sole basis for
26
     alleging that “natural source” and “naturally occurring” constitute nutrient content claims is to
27
     quote a letter from the FDA’s New England District Office to a producer of clover sprouts. See
28
                                                      - 13 -
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 1   Compl. ¶ 62; RJN Ex. H (Mar. 24, 2011 FDA warning letter to Jonathan’s Sprouts). Because it

 2   is an informal agency warning letter and not a formal rule or adjudicatory order, the warning

 3   letter’s interpretation of the FDCA is not binding on this Court and is only entitled to Skidmore

 4   deference “proportional to its ‘power to persuade.’” United States v. Mead Corp., 533 U.S. 218,

 5   227–35 (2001) (alteration omitted). The letter’s interpretation of the FDCA is not persuasive for

 6   two reasons.

 7          First, concluding that the terms “natural source” and “naturally occurring” constitute

 8   nutrient content claims would render superfluous the words “characterizes the level” in the

 9   statutory (and regulatory) definition of nutrient content claims. See 21 U.S.C. § 343(r)(A); 21

10   C.F.R. §§ 101.13(b), 101.54 (g). “[A] statute should be construed so that effect is given to all its

11   provisions, so that no part will be inoperative or superfluous, void or insignificant.” Corley v.

12   United States, 556 U.S. 303, 314 (2009) (internal quotation marks omitted). Holding that the

13   words “natural source” or “naturally occurring” are “characterizing” would render it impossible

14   to say anything about a nutrient without “characteriz[ing] the level” of that nutrient. In effect,

15   the Jonathan’s Sprouts warning letter reads the words “characterizes the level” right out of the

16   FDCA and the FDA’s implementing regulations, making them “superfluous, void, [and]

17   insignificant.” See id. at 314.

18          Second, the Jonathan’s Sprouts warning letter is inconsistent with the plain language of

19   the FDA’s own regulations. The FDA’s decision not to include the terms “source” or

20   “occurring” in its definition of a “good source” claim—particularly where it has defined and

21   restricted the use of the term “good source”—suggests that the terms do not “characterize the

22   level” of the nutrients they describe. Indeed, the Jonathan’s Sprouts warning letter conflicts with

23   at least one prior, considered FDA statement on this issue. See 58 Fed. Reg. at 2345 (“[T]he

24   term ‘source’ merely connotes that a nutrient is present but does not signify the quantity

25   present.” (emphasis added)). Under these circumstances, a lone paragraph in a single warning

26   letter from an FDA branch office—to Mars’s knowledge the only instance in which the FDA has

27   ever suggested that the word “source” characterizes the level of a nutrient—is not entitled to

28   deference.
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 1          For these reasons, the Court should not defer to the interpretation of the FDCA

 2   articulated in the Jonathan’s Sprouts warning letter. See Wilson v. Frito-Lay N. Am., Inc., No.

 3   12-1586 SC, --- F. Supp. 2d ----, 2013 WL 5777920, at *6 (N.D. Cal. Oct. 24, 2013) (declining

 4   to defer to “two warning letters that the FDA sent to two other companies” because the

 5   interpretation was inconsistent with regulatory language and FDA guidance). Rather, this Court

 6   should follow the reasoning in Trazo and hold that the statements on the Dove Dark Chocolate

 7   label are not nutrient content claims and are not required to use FDA-defined terms. To the

 8   extent Plaintiff purports to claim otherwise, her claims are preempted because they would

 9   impose obligations that are “not imposed by or contained in” the FDCA or FDA regulations. 21

10   C.F.R. § 100.1(c)(4)(i) (2012).

11   II.    This Court Should also Dismiss Plaintiff’s Claims Regarding Mars’s Calorie-
            Related GDA Icons Under the Primary Jurisdiction Doctrine.
12
            Apart from express preemption, there is an additional, independent basis for dismissing
13
     the claims premised on Mars’s calorie-related GDA icons: they fall squarely within the primary
14
     jurisdiction of the FDA. Front-of-pack calorie-related labeling is an issue of first impression that
15
     is currently under active consideration by the FDA. Under these circumstances, this Court
16
     should defer to the FDA and—as it previously did with respect to the serving size of small breath
17
     mints—hold that the “more prudent” course is “to step back and allow the FDA regulatory
18
     process to play out.” Gustavson, 2013 WL 5201190, at *17.
19
            “The primary jurisdiction doctrine ‘allows courts to stay proceedings or to dismiss a
20
     complaint without prejudice pending the resolution of an issue within the special competence of
21
     an administrative agency.’” Id. at *16 (quoting Clark v. Time Warner Cable, 523 F.3d 1110,
22
     1114 (9th Cir. 2008)). The doctrine applies when: “(1) there is a need to resolve an issue that (2)
23
     has been placed by Congress within the jurisdiction of an administrative body having regulatory
24
     authority (3) pursuant to a statute that subjects an industry or activity to a comprehensive
25
     regulatory authority that (4) requires expertise or uniformity in administration.” Id . (internal
26
     quotation marks and brackets omitted). Although the doctrine “does not require that all claims
27
     within an agency’s purview be decided by the agency,” the doctrine “is properly invoked when a
28
                                                    - 15 -
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 1   claim is cognizable in federal court but requires resolution of an issue of first impression, or of a

 2   particularly complicated issue that Congress has committed to a regulatory agency.” Id. (internal

 3   quotation marks omitted). It is “designed to protect agencies possessing ‘quasi-legislative

 4   powers’ and that are ‘actively involved in the administration of regulatory statutes.’” Clark, 523

 5   F.3d at 1115 (citation omitted).

 6          Numerous courts have invoked primary jurisdiction to dismiss claims raising issues of

 7   first impression that are under active consideration by an administrative agency. For example, in

 8   Gordon v. Church & Dwight Co., the court dismissed, on primary jurisdiction grounds, claims

 9   alleging that a manufacturer of “N9” latex condoms misrepresented that the condoms reduced

10   the spread of sexually transmitted disease. See No. C 09-5585, 2010 WL 1341184 (N.D. Cal.

11   Apr. 2, 2010). The court found it persuasive that “the FDA has stated that it is still considering

12   public comments and other data in connection with warnings similar to those that plaintiffs seek

13   to have the court impose.” Id. Under those circumstances, “[i]t would be inappropriate for this

14   court to assume the FDA’s regulatory role, and to interpret scientific studies or other evidence to

15   determine whether the labeling of N9 latex condoms should be changed to include an additional

16   warning.” Id.; see also Clark, 523 F.3d at 1115–1116 (deferring to FCC on issue of first

17   impression regarding Voice over Internet Protocol (VoIP) because FCC Notice of Proposed

18   Rulemaking indicated “that the agency is actively considering how it will regulate VoIP services

19   and that the agency’s development of a uniform regulatory framework to confront this emerging

20   technology is important to federal telecommunications policy”).

21          This Court has also recently dismissed, on primary jurisdiction grounds, claims alleging

22   violations of FDA food labeling regulations that involve issues of first impression being actively

23   regulated by the FDA. In its order on Wrigley’s previous motion to dismiss, this Court

24   dismissed Plaintiff’s claim based on the serving size of Altoids Smalls, reasoning that the fact

25   that the FDA had issued a proposed rule on the issue indicated a “substantial possibility that the

26   FDA may soon change its breath mint serving requirements.” Gustavson, 2013 WL 5201190, at

27   *17. Similarly, in Kane v. Chobani, Inc., this Court dismissed on primary jurisdiction grounds

28   the claim that Chobani’s use of the ingredient described as “evaporated cane juice” violated the
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 1   standard of identity for yogurt, relying on the fact that the FDA “has proposed a new Standard of

 2   Identity for Yogurt that allows ‘safe and suitable sweetening ingredients’” and has “suggested

 3   that it will not enforce violations of the current Standard of Identity if companies comply with

 4   the proposed one.’” No. 12-CV-02425-LHK, 2013 WL 3703981, at *18 (N.D. Cal. July 12,

 5   2013) (citation omitted), vacated for other reasons by 2013 WL 5529723 (N.D. Cal. July 25,

 6   2013). Under those circumstances, deferring to the FDA was appropriate “[g]iven the possibility

 7   that the FDA will soon change the Standard of Identity for Yogurt to permit the use of

 8   [evaporated cane juice] and the indications that the FDA will not bring claims against

 9   manufacturers who comply with the proposed revised Standard of Identity.” Id.

10          Plaintiff’s claims based on Mars’s GDA icons are another example of an issue of first

11   impression on which this Court should defer to the FDA’s primary jurisdiction. The best

12   evidence of this is Plaintiff’s own allegations in her renewed complaint, which rely extensively

13   on a non-binding FDA guidance letter in which the FDA (i) specifically approved the use of

14   front-of-pack calorie icons similar to those used by Mars and (ii) stated it would “exercise

15   enforcement discretion” regarding front-of-pack nutrition labeling. See RJN Ex. F. Moreover,

16   the FDA has announced that it “soon will propose guidance for the industry regarding nutrition

17   labeling on the front of food packages, and plans to work collaboratively with the food industry

18   to design and implement innovative approaches to front-of-package labeling that can help

19   consumers choose healthy diets.” RJN Ex. G (FDA announcement of “Front-of-Package

20   Labeling Initiative”). un5 In fact, with regard to calorie-related labeling specifically, the FDA is

21   currently contemplating a proposal which would “give more prominence to calories on the food

22   label” and would require the inclusion of a daily value of calories (based on a 2,000 calorie diet)

23   as a standard component of the nutrition facts panel. See 70 Fed. Reg. 17,008, 17,008–17,010;

24

25
     5
26    Available at
     http://www.fda.gov/Food/IngredientsPackagingLabeling/LabelingNutrition/ucm202726.htm (last
27   updated May 17, 2013).
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 1   72 Fed. Reg. 62,149, 62,167; 78 Fed. Reg. 44,252, 44,254. And as previously noted, proposed

 2   FDA regulations condone the provision of “clear and conspicuous” front-of-pack calorie

 3   information as a way to satisfy Affordable Care Act vending-machine nutrition disclosure

 4   requirements. See supra Part I.A.3.

 5          In short, front-of-pack nutrition labeling and the disclosure of calorie-related information

 6   are areas in which the FDA is “actively involved in the administration of regulatory statutes,” see

 7   Clark, 523 F.3d at 1115 (internal quotation marks omitted), is “still considering public comments

 8   and other data,” see Gordon, 2010 WL 1341184, at *2, and is intentionally exercising

 9   enforcement discretion, see Kane, 2013 WL 3703981, at *18. Plaintiff’s claims that Mars’s

10   GDA icons are inconsistent with FDA regulations raise clear “technical and policy questions”

11   “that should be addressed in the first instance” by the FDA to ensure “uniformity in

12   administration.” Clark, 523 F.3d at 1114–15 (internal quotation marks omitted). To hold

13   otherwise would risk stifling the very “design and implement[ation of] innovative approaches to

14   front-of-package labeling” in which the FDA is currently engaged. RJN Ex. G.

15                                           CONCLUSION

16          For the foregoing reasons, and pursuant to Federal Rule of Civil Procedure 12(b)(6),

17   Plaintiff’s claims based on Mars’s calorie-related GDA icons and statements regarding cocoa

18   flavanols should be dismissed with prejudice.

19

20   Dated: November 15, 2013                     Respectfully submitted,

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                 MARS’S NOTICE OF MOTION AND MOTION TO DISMISS – 13-cv-04537-LHK
             Case 5:13-cv-04537-LHK Document 18 Filed 11/15/13 Page 26 of 26


 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on November 15, 2013, I electronically filed the foregoing with the
 3   Clerk of the Court using the CM/ECF system which sent notification of such filing to the
 4   following:
 5          Ben F. Pierce Gore                    pgore@prattattorneys.com
 6
            And I hereby do certify that I have mailed by United States Postal Service the document
 7
     to the following non CM/ECF participants:
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                  MARS’S NOTICE OF MOTION AND MOTION TO DISMISS – 13-cv-04537-LHK
